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IN THE UNITED STATES DISTRICT COURT _CLRRR,U.3. DISTRICT COUR

MIDDLE DISTRICT OF FLORIDA eee
ORLANDO DIVISION PLEADS
ELISABETH KERNS, Case No.: ( . 9
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Plaintiff, 4Sb - ORL~ UY (- DET
Vv.

ADVANCED CALL CENTER
TECHNOLOGIES, LLC,

Defendant.

 

COMPLAINT
Plaintiff, ELISABETH KERNS (“Plaintiff”), by and through undersigned counsel, hereby
files this Complaint against Defendant, ADVANCED CALL CENTER TECHNOLOGIES, LLC
(“Defendant”), alleges as follows:
Nature of the Action
1. This action is brought by Plaintiff pursuant to the Fair Debt Collection Practices Act, 15
U.S.C. §1692 et seg. (“FDCPA”) and the Florida Consumer Collection Practices Act,
(hereinafter “FCCPA”), Fla. Stat. § 559.55 et seq., both of which prohibit debt collectors
from engaging in abusive, deceptive and unfair practices.
Parties
2. Plaintiff is an adult, natural person residing in the city of Kissimmee, Osceola County,
Florida and is otherwise sui juris.
3. Plaintiff is a consumer as defined by 15 U.S.C. §1692a(3) and Florida Statute §559.55(8)
and is allegedly obligated to pay a debt.
4, Defendant is a debt collector conducting business in the state of Florida, and has its

principal place of business in Berwyn, Pennsylvania.
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11.

Defendant is a debt collector as defined by 15 U.S.C. §1692a(6), and sought to collect a
consumer debt from Plaintiff.
At all times referred to in this Complaint, Defendant acted through its agents, employees,
officers, members, directors, heirs, successors, assigns, principals, trustees, sureties,
subrogees, representatives and/or insurers.

Jurisdiction and Venue
Subject-matter jurisdiction of this Court arises pursuant to 15 U.S.C §1331 and 15 U.S.C.
§1692k(d), which states that such actions may be brought and heard before “any
appropriate United States district court without regard to the amount in controversy.” 28
U.S.C. §1367 grants this court supplemental jurisdiction over the state claims contained
herein.
Since Defendant conducts business in Florida, this Honorable Court has personal
jurisdiction over Defendant.
Venue is proper in the United States District Court for the Middle District of Florida
pursuant to 28 U.S.C §1391(b)(2) because Plaintiff resides within this District and a
substantial part of the events or omissions giving rise to the herein claims occurred within
this District.

Factual Allegations

Plaintiff's alleged debt arises from transactions for personal, family, and/or household
purposes.
On or around August 25, 2017, Plaintiff called Defendant’s telephone number (877) 597-
1385, spoke to Defendant’s female representative, Micah Oakley, and requested that

Defendant cease placing the voluminous number of collection calls to Plaintiff. During
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the telephone call, Plaintiff told Defendant’s representative that Plaintiff did not have the
ability to pay the alleged debt at the moment and that Plaintiff would contact Defendant
when Plaintiff could afford to begin repayment.

Despite the call from Plaintiff to Defendant, after August 25, 2017, Defendant continued
constant and incessant collection calls from an automated telephone dialing system to
Plaintiff. The calls at issue were made solely to harass Plaintiff and to force payment of
an alleged consumer debt at a moment in which Plaintiff admittedly did not have the means
to pay said alleged debt.

Defendant called Plaintiff's telephone number at (407) 847-XXXX.

After Plaintiff's August 25, 2017 request for Defendant to stop calling her, Defendant
called Plaintiff at least one hundred eleven (111) times in less than four (4) months, and

in some days, Defendant called Plaintiff as many as eight (8) times.

. Defendant’s persistent and continuous telephone calls to Plaintiff caused Plaintiff

considerable anxiety and apprehension.
As a result of the foregoing, Plaintiff has been damaged and is entitled to relief.

COUNT I
VIOLATIONS OF THE FDCPA 15 U.S.C. §1692 et seq.

Plaintiff repeats and incorporates by reference into this cause of action the allegations set
forth above at Paragraphs 1-16.

On or around August 25, 2017, Plaintiff called Defendant’s telephone number (877) 597-
1385, spoke to Defendant’s female representative, Micah Oakley, and requested that

Defendant cease placing the voluminous number of collection calls to Plaintiff.
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19. During August 25, 2017 telephone call between Plaintiff and Micah Oakley, Plaintiff told
Micah Oakley that Plaintiff did not have the ability to pay the alleged debt at the moment
and that Plaintiff would contact Defendant when Plaintiff could afford to begin repayment.

20. Defendant continued constant and incessant collection calls from an automated telephone
dialing system to Plaintiff at her telephone number of (407) 847-XXXX.

21. The calls made by Defendant to Plaintiff were made solely to harass Plaintiff and to force
payment of an alleged consumer debt at a moment in which Plaintiff admittedly did not
have the means to pay said alleged debt.

22. After Plaintiff's August 25, 2017 request for Defendant to stop calling her, Defendant
called Plaintiff at least one hundred eleven (111) times in less than four (4) months, and
in some days, Defendant called Plaintiff as many as eight (8) times.

23. Defendant violated §1692d(5) of the FDCPA by engaging in conduct of which the natural
result is the abuse and harassment of Plaintiff.

WHEREFORE, Plaintiff requests that this Honorable Court enter judgment against
Defendant, and in favor of Plaintiff, as follows:

a) Declaring Defendant’s action, as described above, to be in violation of the FDCPA;

b) Grating Plaintiff statutory damages of $1,000.00 pursuant to 15 U.S.C. §1692k;

c) Granting Plaintiff actual damages pursuant to 15 U.S.C. §1692k;

d) Awarding Plaintiff reasonably billed attorneys’ fees and litigation costs pursuant to 15

U.S.C. §1692k; and

e) Granting such other and further relief as may be just, proper and equitable.
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COUNT I
WILLFUL VIOLATIONS OF THE FLORIDA
CONSUMER COLLECTION PRACTICES ACT FLA. STAT. §559.55 et. seq.

24. Plaintiff repeats and incorporates by reference into this cause of action the allegations set
forth above at Paragraphs 1-16.

25. At all times relevant to this action Defendant is subject to and must abide by the laws of
the state of Florida, including Florida Statute §559.72.

26. Defendant violated Florida Statute §559.72(7) by willfully communicating with the
debtor or any member of her or her family with such frequency as can reasonably be
expected to harass the debtor or her or her family.

27. Defendant violated Florida Statute §559.72(7) by willfully engaging in conduct that can
reasonably be expected to abuse or harass the debtor or any member of her or her family.

28. Defendant’s actions have directly and proximately resulted in Plaintiff's prior and
continuous sustaining of damages as described by Florida Statute §559.77.

WHEREFORE, Plaintiff requests that this Honorable Court enter judgment against Defendant,
and in favor of Plaintiff, as follows:
a) Providing Plaintiff statutory damages of $1,000.00 pursuant to the Florida Consumer
Collection Practices Act, Fla. Stat. §559.77(2);
b) Providing Plaintiff costs and reasonable attorneys’ fees pursuant to the Florida
Consumer Collection Practices Act, Fla. Stat. §559.77(2);
c) Awarding Plaintiff actual damages and compensatory damages according to proof at
time of trial, valued at no less than $15,000.00;
d) Awarding Plaintiff punitive damages for Defendant’s egregious conduct of

continuously making automated collection calls even after Plaintiff required
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Defendant to cease and desist from doing so; and

e) Granting Plaintiff such other and further relief as may be just and proper.

JURY TRIAL DEMAND

Plaintiff demands a jury trial on all issues so triable.

RESPECTFULLY SUBMITTED,

DATED: June 14, 2018

BY: /s/ Jason 8. Weiss

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Attorney for Plaintiff

Pro hac vice admission
request to follow

The Law Offices

of Jeffrey Lohman, P.C.

By: /s/ Carlos C. Alsina-Batista

Carlos C. Alsina-Batista
Attorney for Plaintiff
